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             Nigeria's Richest Kids - Meet
             Adesuwa Ogiozee (Photos).
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             You won't believe how she got her money.




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             You won't believe how she got her money.


             Till today, one of the most popular stories I have ever written is a story I
             wrote 4 months ago titled 7 Richest Kids in Nigeria (Photos).




               7 Richest Kids in Nigeria (Photos).
               Talk about     young money.

               I   Jou rnal




             Till today, I get messages to do a second part to this story but this time, to
             focus more on the grown-up kids. I listened and I went compiling a list of
             names.


             What I quickly realized was that a list of Richest Grown up Kids in Nigeria
             would be wayy too long to give you all in one sitting. I wrote name after



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            name after name after name. Right now, my compiled list of Richest
            Nigerian Kids is veryvery LONG.


            So,   I decided to make it into                  a SERIES.


            Every week,         I'll   share with you a new name on my list. The order will be
            arbitrary. I'm currently watching The Blacklist and I love how the blacklist
            names are not given in chronological order. So, in that same vein, the order
            of my list will be given to you in no chronological order.


            Today, I'll be sharing with you yet another name on my list. She is the
            young CEO of one of the most successful car brokers in Africa.


            Are you ready to jump in and find out who it is? Then let's go!

            **Before reading on, make sure to like and follow my Facebook page so you
            don't miss out on any new and interesting lists, articles, and stories that I
            post every single day. I have a really fun page. If you like my page, you will
            have fun too. So what's stopping you? Like my page and let's have fun
            together!



                                       *c*
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            Who is Adesuwa Ogiozee?




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            Adesuwa Renee Ogiozee is the Chief Executive Officer of Renzee Logistics,
            a company that touts itself as the number one auto broker in Africa.




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             Interestingly, Adesuwa says that the establishment of her company was not
             planned. In fact, the idea only came to her after her own car was stolen
             from where she lived in Dallas, Texas, America. Although the vehicle was
             later found, that entire ordeal sparked something in Adesuwa that has
             since gone on to make her a young boss that has sold expensive cars to big
             Nigerian names including MC Galaxy, Omoniibirin, and Dr. Dolor to name
             a few.




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           Adesuwa Renee Ogiozee is a graduate who studied Accounting and received
           her diploma in zoo5 from Delta State University Abraka. After her studies,
           her father relocated her and her siblings to America where she also bagged
           a diploma           in Theology from the Christ for the Nations Institute, Dallas,
           Texas.


           She is      still a student. She is presently enrolled in the University of Phoenix,
           Arizona pursuing a degree in medical administration.




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            Her interest in selling cars was born after her and her sister once forgot to
            remove the car keys from the door keyhole and so, had the car stolen. They
            went to the Dallas Police who advised them to call their insurance
            company. Unfortunately for them, they had no insurance at the time. Later,
            the car was miraculously found.




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            After the car was found, she tried to sell it off because she had become
            afraid ofthe car. She received no good offers. So, her mom advised her to
            ship it to Nigeria. She listened. Immediately it reached Nigeria, the car sold
            and not only did it sell, it sold and made a profit. Adesuwa's interest in
            selling cars was born that day.


            Now, she is one of the most sought-after car dealers in Africa. Her
            Instagram, Renee5star has over z4z THOUSAND followers, and her
            company boasts sales of over 3,ooo cars across Africa.




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             She has been recognized                 with a Business Entrepreneur ofthe Year award in
             2018, a Ladies In Business Achiever of the Year award, and a Heritage
             Awards Business Executive of the Year award in zor9.


             With her money, she has placed over So students in her scholarship
             program, sponsored over 10 major surgeries for people with dire
             conditions, and gives back through numerous charity projects including the
             Nr,ooo,ooo giveaway she did in zor9.


             Talk about a young woman making boss moves, looking good while doing
             it, and still helping the less privileged.

             Adesuwa is an example and role model, and we're happy that her hard
             work has paid offfor her.




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            I'm sure you've loved reading this piece. To make sure you keep having fun
            and don't miss out on any fun in the future, be sure to like and follow my
            Facebook page above. It's a really fun page and you're really going to love
            it. So what's stopping you? Like it!

            To catch up other content you might have missed, click here.


            Until next time, have a wonderful rest of your day!




               Meet Nigeria's Richest Kids - #15 Osborn Nweze (Photos)
               This week, meet a 22-year-old governor's son.

               @    6eeks




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                7 Nigerian Celebrities Whose Parents are PASTORS.
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              tr        Ben W
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              It is likely that you will want to improve your English for purely professional reasons at some point. lf that's
              nol you, then this blog post will not apply to you. However, as you get older and you advance in your
              career or your business pursuits, you may find it to your advantage to know the basics of business English
              ln addition to the voCabulary and the grammar, you need to be aware of the major steps before you can
              advance in your position. I cover a number of these topics in both Business English private lessons and
              also in an online course speciflcally for this subject.




              The Best Careers Without Degree Requirements
                        Dr. Ethan Levi
              -!!:      4 years ago




              Chances are your parents used to tell you you wouldn't be able to get a good job without a college degree
              ln previous decades, this may have been truer than it is today. Why? Because even people with college
              degrees have a hard time finding employment these days. So don't get down on yourself. You can make
              your way with the best careers without degree requirements.




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               lnterview with TSOLife CEO David Sawyer

              o         Natasha Sydor
                        5 years ago




              His grandmother's death inspired a vision; David Sawyer's interview may inspire you as well. Storytelling is
              the most powerful way to put ideas into the world today. For David Sawyer, storytelljng has allowed him to
              become one of the youngest CEO'S in the country. As a senior at Stetson University in Deland, Florida,
              Sawyer is the CEO and founder of TSOLife, a web application that allows users to share their own
              legacies for future generations. The Story of Life, LLC (TSOLife) is an innovative genealogy and personal
              narrative service that revolutionizes how we record stories and present our legacies to future generations.
              It does not follow the typical path of searching for public documents. lnstead, it empowers users to write
              their own histories. Through TSO Life's web platform, users are allowed to be remembered the way they
              want to be remembered and pass down a personal legacy to their future generations.




              Sometimes... Coffee
                        J. Alekzander
              l#,       2 years ago




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             Employee engagement, employee happiness, employee BREAKS!? ln a movie, that's where the record
             player would scratch to indicate something terrible just happened. BREAKS!? "Workers aren't hired to take
             breaks; they're hired to WORK!'' That's one person's opinion. lthink this sentence should be said like this,
             "PEOPLE are invited in roles to increase production." Research shows, paradoxically, that taking breaks
             can supplement and increase productivity. I'm a fortunate man, for many reasons, but incredibly fortunate
             to work for a company that provides some autonomy, empowers me to make decisions and allows me to
             empower those I work with. ln our growing company, our Marketing Department is comprised of two
             people; myself and a wonderful person named Amber. Our roles have been set up to support our "happy
             place" in the context of workflows. l'm empowered to think big, vision-cast, and oversee big proiects.
             Amber comes alongside me and makes sure that while l'm being a dreamer and visionary, the small
             details don't get missed. Even though we are in our happy places, lhere are of course things we have to
             do that we don't love. Amber is an incredibly ellicient worker-bee, but that doesn't mean she doesn't get
             tired, frustrated with a process, or straight up burnt out on a project. I saw this. Not just in her, but also
             myself. What's the solution? I established a weekly 1-1 over coffee. We think bigger, we bond, and we get
             things done. Period. As a result of these meetings, we have been become more productive and more
             connected in thought and communication. What's the takeaway? Sometimes... CofFee. Just take a break.
             For you analytical, black & white people, here are a few pointers for you to consider:




             Whatever Happened to the Business Card?

             a         Emily Mccay
                       5 years ago




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              "Every dog has its day" as the old expression goes, which in the case of the humble business card means
              that it's "15 minutes of fame" has, rather remarkably, persisted for well over 400 years. There is reasonable
              historical evidence that the business card may have found its beginnings in China in the '1400s----certainly
              not in the form of a business card per se-but rather the means by which one identified him or herself.




              BELOW PAR PACKAGING HARN/S YOUR DISPENSER
              BUSINESS

              o         Justin Martin
                        about a year ago




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              Usually, dispenser boxes manufacture think that their product will survive and do well if it is made at high
              standards, but it is nol valid, as the product only can't guarantee you success. The other processes
              involved in the goods' course in business are equally necessary, and one of the most paramount factors is
              the packaging.




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